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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

MILLER WEISBROD, LLP, et al.,                §
                                             §
        Plaintiffs,                          §
                                             §
v.                                           §          CIVIL ACTION NO. 3:13-CV-2695-B
                                             §
KLEIN FRANK, P.C.,                           §
                                             §
        Defendant.                           §

                 DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

        Defendant Klein Frank, P.C. (Klein), submits this Motion for Summary Judgment against

Plaintiffs James E. Girards, James E. Girards, P.C. d/b/a The Girards Law Firm (collectively

“Girards”) pursuant to F.R.Civ. P 56 on the Girard’s claim for 15% of the attorneys fees based

upon an alleged verbal agreement.

        The Girards’ claim based upon an alleged verbal co-counsel agreement fails as a matter

of law because co-counsel agreements must be approved by the client in writing. There is no

writing approving the unconscionable verbal contract terms alleged by Girards. Girards failed to

state a claim upon which relief can be granted with respect to an alleged contract, and any such

claim must be dismissed as matter of law.

        The matters required by LR 56 will be set forth in the Memorandum Brief.

        Conferral is not required pursuant to LR 7.1.

        Wherefore, for the reasons set forth in this Motion and in the Memorandum Brief filed in

support thereof, Defendant requests that Girard’s claims for 15% of the attorneys fee based upon

contract theory be dismissed.
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       DATED this 22nd day of November, 2013.

Respectfully submitted,

                                       /s/ Beth Klein____________
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                               CERTIFICATE OF SERVICE

        The undersigned certifies that a true and correct copy of the foregoing was served upon
the following attorneys of record on this, the 22nd day of November, 2013, by way of ECF
filing.

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                                            /s/ Beth Klein____________
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